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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 IN RE:                                             §
 CHARLES MOSELY                                     §         Case No. 25-31187
        DEBTOR.                                     §         Chapter 13
                                                    §

 CHARLES MOSELY,                                    §
                                                    §
                Plaintiff,                          §
                                                    §
 vs.                                                §         Adversary No. 25-03365
                                                    §
 SELENE FINANCE LP,                                 §
                                                    §
                Defendant.                          §


                                  NOTICE OF APPEARANCE


         PLEASE TAKE NOTICE that the undersigned hereby enters an appearance on behalf of

Defendant Selene Finance LP ("Defendant") as attorney for such party, and hereby requests notice

of all hearings and conferences in this case, and requests service of all pleadings, filings, notices,

and other actions and papers pursuant to the Federal Bankruptcy Rules. All notices given or

required to be given in this case and all pleadings and other filings served or required to be served

in this case shall be given and served upon the undersigned counsel at the following address and

telephone number:




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       PLEASE TAKE FURTHER NOTICE that the foregoing request includes not only the

notices, pleadings, filings, and papers referred to in the above-referenced Bankruptcy Rules but

also includes, without limitation, any and all reports, letters, correspondence, applications,

motions, complaints, objections, claims, demands, hearings, or requests, whether formal or

informal and whether oral or in writing, which may be filed, submitted, transmitted, or conveyed

to the Bankruptcy Clerk, Bankruptcy Court, or Bankruptcy Judge (as such terms are used and

defined in Bankruptcy Rule 9001) in connection with this action.




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                                            Respectfully submitted,


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                                            COUNSEL FOR DEFENDANT
                                            SELENE FINANCE LP


                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the foregoing document
was served upon Plaintiff by U.S. Mail and/or Certified Mail, Return Receipt Requested and to all
counsel of record via the Court's CM/ECF system pursuant to the Federal Rules of Civil Procedure
on this 17th day of July, 2025.

                                            /s/ Matthew H. Davis
                                            Counsel for Selene Finance LP




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